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                                                  U.S. Department of Justice
                                                                                              Page 3
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                                                       June 3, 2025

BY ECF
The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:      United States v. Combs, S3 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government writes to respectfully request that the Court admit limited additional
testimony from Dr. Dawn Hughes as described below in response to arguments advanced
forcefully and repeatedly by the defense during cross-examination of Mia. For the reasons set
forth below, the defendant’s cross-examination of Mia opened the door to limited additional
testimony to rebut the misleading arguments made to the jury about how victims react to abuse.
Specifically, the Government seeks to admit testimony from Dr. Hughes regarding the following
limited concepts outlined in her expert notice:1

             1. The definitions of emotional and sexual abuse (Dkt. 207-1 at 2);

             2. These forms of abuse may “together function to control the victim” (Id.);

             3. These forms of abuse may create an “environment of fear and obedience that
                impacts a victim’s decision-making process and free will, as well as manipulate[]
                the victim’s emotions.” (Id. at 3); and

             4. These forms of abuse are “often interspersed with rewards, positivity, affection, and
                normalcy, which can create emotional attachment and psychological dependency.”
                (Id. at 3).

       This limited proposed testimony of Dr. Hughes is highly probative and directly responsive
to the misleading positions advanced by the defense. In connection with this request, the
Government draws the Court’s attention to the Second Circuit’s decision yesterday in United

1
  Although Dr. Hughes’ testimony contained very limited testimony regarding forms of abuse and
testimony about coping mechanisms, her testimony was constrained by both the Court’s prior
rulings and sustained objections during direct examination. See, e.g., Tr. 2082:15-19 (sustaining
objection on definition of domestic violence); Tr. 2090:23-2091:2 (sustaining objection on
definition of psychological abuse); Tr. 2108:20-23 (sustaining objection on how the use of coping
mechanisms in a relationship impacts a victim).

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States v. Ray, 23 Cr. 6114 (2d Cir. 2025), affirming the admission of Dr. Hughes’ testimony on
coercive control and concluding that similar testimony is properly admitted at trial where the
Government establishes a relevance to the charged conduct.

       I.      The Second Circuit’s Recent Decision in United States v. Ray, 23 Cr. 6114 (2d
               Cir. 2025) Affirmed Dr. Hughes’ Expert Testimony on Coercive Control

        On June 2, 2025, the Second Circuit upheld the conviction of Lawrence Ray on charges
including racketeering and sex trafficking. See United States v. Ray, 23 Cr. 6114 (2d Cir. 2025).
In the opinion, the Circuit affirmed the admission of Dr. Hughes’ expert testimony regarding
coercive control. The full opinion of the Circuit is attached hereto as Exhibit A. Specifically, the
Second Circuit in Ray rejected the notion that testimony regarding coercive control was not outside
the ken of the average juror and cited affirmatively the holdings of other circuits that had admitted
similar expert testimony. As the Circuit noted:

               [L]ike expert testimony on the practices and operations of organized
               crime, narcotics dealers, and forced labor schemes, expert testimony
               regarding the general dynamics of sexual abuse, including coercive
               control tactics, is admissible under Rule 702, in the exercise of the
               district court’s discretion, when it provides jurors with information
               to assist them in evaluating, and placing into perspective, conduct
               that may be the result of complex interpersonal relationships that
               could be difficult for a jury to understand on its own . . . In reaching
               this holding, we join our sister circuits that have held under
               analogous circumstances, that methods of sexual abuse are a proper
               subject for expert testimony. See United States v. Halamek, 5 F.4th
               1081, 1088-89 (9th Cir. 2021); United States v. Young, 955 F.3d
               608, 615 (7th Cir. 2020); United States v. Johnson, 860 F.3d 1133,
               1140-41 (8th Cir. 2017); United States v. Batton, 602 F.3d 1191,
               1200-02 (10th Cir. 2010); United States v. Hitt, 473 F.3d 146, 158-
               59 (5th Cir. 2006).

Ray, 23 Cr. 6114, at 25-26.

        The Circuit further noted that Dr. Hughes’s testimony had included definitions of
specialized terms such as “coercive control,” which explained how “perpetrators may utilize a
range of tactics to impose coercive control over their victims” including “methods of physical,
sexual, and psychological abuse.” Id. Dr. Hughes had also testified in Ray regarding the “impact
that coercive control and its tactics have on victims, including becoming dependent on an abuser,
choosing not to report abuse to others, and becoming desensitized to abuse.” Id. at 26. The Second
Circuit concluded that the district court had properly admitted this testimony on the basis that it
was outside the ken of the average juror given the “complexity of these types of interpersonal
dynamics,” and noted that such expert testimony “may be particularly important” where it aids the
jury in “contextualiz[ing] the seemingly counterintuitive behavior of the victims.” Id. at 27. The
Circuit further noted that “such expert testimony can assist jurors in understanding why certain
grooming techniques—including gaining the victim’s trust by providing attention, affection, and
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financial support, which may seem benign on their face—can be utilized by an abuser to gain
tactical control over a victim for eventual sexual abuse.” Id. at 28.2

       Finally, the Circuit noted that the district court had properly weighed Dr. Hughes’ expert
testimony under Rule 403. The Circuit noted affirmatively the district court’s determination that
such testimony was highly probative and rejecting the defense’s argument that such testimony
“would confuse and inflame the jury.” Id. at 28-29.

       II.     The Defense’s Extensive Cross Examination of Mia Opened the Door to
               Limited Additional Expert Testimony

        On Friday, May 30, 2025 and Monday, June 2, 2025, the defense cross examined Mia, a
victim who testified that she was sexually abused by the defendant during her employment by the
defendant. Throughout its cross-examination, the defense asserted time and again that Mia’s
actions—such as sending loving messages to the defendant and describing positive moments in
their relationship—were inconsistent with her testimony about being sexually abused by the
defendant. In long, argumentative questions resembling testimony more that cross-examination,
the defense expressly and impliedly stated that someone who was a victim of sexual abuse would
not have engaged in such behavior, thereby impugning Mia’s credibility before the jury. This
elective questioning opened the door to limited testimony from Dr. Hughes to “contextualize the
seemingly counterintuitive behavior of the victim[].” United States v. Ray, 23 Cr. 6114 at 27.

        Over the course of cross examination, the defense showed Mia dozens of text message
communications and social media posts in which Mia made positive statements about or directed
at the defendant. Then, in connection with those exhibits and otherwise, the defense repeatedly
questioned Mia as to why she would have supported her abuser, and argued that she was, in fact,
lying about her abuse. For example, the defense’s cross examination included the following:

               Q. So the man who threatened your life the night before, you decided
               to repost on your personal social media account?
               A. Yes.
               Q. I’m sorry if I cut you off. Go ahead.



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  The Second Circuit also rejected the argument that Dr. Hughes’ testimony as a blind expert
amounted to improper bolstering of fact witnesses. The Court noted that “Dr. Hughes offered
general testimony on coercive control and explained various tactics that may be used by
perpetrators to achieve coercive control. In doing so, Dr. Hughes made clear that her testimony
was based on her twenty-five years of experience as a psychologist specializing in interpersonal
violence and traumatic stress, not any knowledge of [the defendant], his victims, or materials
specific to this case.” Id. at 29. The Court therefore concluded that Dr. Hughes’ testimony “about
coercive control generally did not bolster or mirror fact witness testimony, but instead . . . provided
the jury with contextual background that helped in evaluating the evidence presented in this case.”
Id. at 30.
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                 A. I was going to say, yes, of course.
                 Q. And the man who terrorized you and threatened your life the
                 night before, you decide to write: The nicest caption ever. Thanks,
                 Puff. Love you. You’ve shown me the world.
                 A. Yes.

Tr. 3476:2-10.

                 Q. Then why would you -- if you’re being sexually assaulted and
                 your sister is being brutalized physically, why are you making a
                 scrapbook for Mr. Combs?
                 A. It’s a lot more complicated than the way you phrase that. It’s
                 called it’s abuse on all levels and --
                 Q. I’m sorry, go ahead.

                 A. Oh no. I was just going to say I guess you could talk to any sexual
                 victim advocate or any abuse victim advocate, and they could
                 explain it to you much better than I could.
Tr. 3568:20-3569:3. These questions were far from aberrational. Rather, the defense
systematically and repeatedly attacked Mia’s credibility on the basis that she expressed affection
for her abuser, the defendant. (See, e.g. Tr. 3484:3-23; Tr. 3493:10-16; Tr. 3540:1-4; Tr. 3691:20-
3692:22; Tr. 3810:17-25).

        Similarly, the defense attempted to attack Mia’s credibility by noting that she had described
moments of positivity with the defendant. While Mia noted that these positive moments were
interspersed with moments of extreme fear, violence, and abuse, the defense forcefully attacked
her credibility on the ground that she had expressed such mixed emotions. For example, the
defense’s cross examination included the following:

                 Q. You were in fear of Sean Combs every day, is that true?
                 A. On the days that he was calling me his best friend and treating
                 me like that, I wasn’t in fear of him.
                 Q. You weren’t in fear of the man who took your innocence?
                 ...
                 A. Oh. I wasn’t in fear? Yes, I -- I was in fear anytime Puff was not
                 happy, yes, because I wanted to make sure he was because then I
                 knew I was safe.
Tr. 3484:15-23.
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                 Q. How do you have a good moment with Sean Combs when you’re
                 terrified of him?
                 A. Because – it’s – it’s easy because the dynamics would shift. So
                 when things were good, you felt really safe and you forgot -- you
                 almost forgot about those things, so...
                 Q. How do you forget about being woken up with a man on top of
                 you getting his way with you?
                 A. Because it’s too horrible to think about, so you don’t, and you
                 don’t have time to either, and you just want it to go away.
Tr. 3493:17-25.

                 Q. You were in constant fear, true?
                 A. Constant fear. I said that when he was abusive, I was in horrific
                 fear. I was in fear of being in trouble. I was in fear of upsetting him.
                 I was in fear of any moments that were not the best friend good
                 moments.
                 Q. How were you best friends with a person who has treated you the
                 way that you said to the jury?
                 A. I mean, I guess we can ask my therapist. It was a very
                 psychological -- it – that’s what he would also refer to me to. I have
                 multiple best friends. These were people I was around all the time.
                 And he was vulnerable with me quite a bit, so I would feel
                 responsible for helping him, and then I would feel bad for him, and
                 I don’t know how to -- I mean, I can describe it, but I’m not a
                 psychiatrist or a therapist, I don’t think I’m allowed to.
Tr. 3494:4-18.

                 Q. How is it possible that you are even around Mr. Combs after the
                 way you say he treats you and your sister and your other loved ones?
                 A. It’s called like psychological abuse. Again, it wasn’t horrible all
                 the time. If it was, it would have been easy getting punished after
                 reacting to his violence where then I’m confused and begging for --
                 to make it all better so that I ignore what happened, like nobody
                 around me -- no one around us ever reacted. Everyone acted like it
                 was normal.
Tr. 3558:19-3559:2.
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               Q. But my question I would like you to answer, if you don’t mind,
               is: How could any high cover up the lows that you talked about, by
               being threatened with your life?
               ...
               A. Oh, because you -- I felt safe and I felt, like, everything was great
               again.
               Q. And being, God forbid, seen actually abused, according to you,
               same question?
               MS. SMYSER: Objection.
               THE COURT: That’s sustained.

Tr. 3792:14-24.

        Notably, embedded in its examination, the defense repeatedly made conclusory statements
regarding Mia’s behavior—including her willingness to express support for the defendant and her
descriptions of positive moments with him—resulting in numerous sustained objections. Indeed,
following a series of such statements by the defense, the Court informed the defense that it was
“repeating the same question multiple times, often with an improper form . . . and at a certain point,
I’m going to think that you’re doing that just to get the question out there so the jury can hear it.”
(See Tr. 3707:6-19). In so doing, the defense pushed a misleading narrative to the jury in the form
of outright argument, as illustrated below:

               Q. So the person who you told the ladies and gentlemen of the jury
               terrorized you and caused you PTSD, you wrote to that person and
               explained how that person saved you from the other person named
               there, right?
               MS. SMYSER: Objection.
               THE COURT: Sustained. Needs to be rephrased.

Tr. 3661:23-3662:3.

               Q. -- why didn’t you say, and, Mr. Combs, you bamboozled me as
               well?
               A. Because I was still brainwashed.
               Q. Who brainwashed you, Mia?

               A. Puff.
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               Q. How did he brainwash you into thinking that it’s okay to be
               woken up from your slumber with a man’s private part being
               inserted into your person without permission?
               MS. SMYSER: Objection.
               THE COURT: Sustained.

Tr. 3680:22-3681:6.

               Q. Why would you stick up for Mr. Combs, knowing what you are
               saying you have knowledge of, this brutality? Why would you do
               that when Ms. Ventura said he’s being jerky?
               MS. SMYSER: Objection.
               THE COURT: That’s sustained.

Tr. 3725:18-23.

       III.    Limited Additional Testimony from Dr. Hughes Is Admissible under Ray and
               Directly Responsive to the Defense’s Attempts to Undermine Mia’s Credibility

        As the defense attacked Mia’s truthfulness based on her mixed reactions to the defendant
and public expressions of positivity, thereby attacking the concept of a victim of abuse having a
non-linear or multifaceted reaction to the abuse, the Government should be permitted to introduce
limited testimony to aid the jury in “contextualiz[ing] the seemingly counterintuitive behavior of
the victim[].” Ray, 23 Cr. 6114, at 27. Dr. Hughes’ limited additional testimony will “provide[]
jurors with information to assist them in evaluating, and placing into perspective, conduct that may
be the result of complex interpersonal relationships that could be difficult for a jury to understand
on its own.” Id. The Court should therefore admit additional testimony from Dr. Hughes on (i)
emotional and sexual abuse, (ii) how different forms of abuse combine, (iii) the “environment of
fear and obedience” that impacts a victim’s decision-making and emotions, and (iv) how abuse is
“interspersed with rewards, positivity, affection, and normalcy” to create attachment and
dependency.3 (See Dkt. 207-1 at 2-3). This limited testimony will assist the jury by providing
context for victims’ reactions to emotional and sexual abuse. Moreover, such testimony is entirely
consistent with binding Second Circuit authority acknowledging the probative value and relevance
of expert testimony regarding coercive control in cases involving sexual abuse.4


3
 This testimony would be limited to a subset of the opinions described in the third full paragraph
on page 2 and the second full paragraph on page 3 of Dr. Hughes’s expert disclosure. (See Dkt.
207-1).
4
  During oral argument on April 18, 2025 on the defendant’s motion to preclude Dr. Hughes’
testimony, the Government pointed to numerous district court cases in which similar testimony
regarding coercive control had been introduced at trial, while the defense argued, among other
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        After strenuously objecting to any expert testimony on these issues, the defense’s cross-
examination of Mia drove a battering ram through the door to additional testimony from Dr.
Hughes to provide necessary context to its misleading and prejudicial assertions. As noted above,
the defense extensively cross-examined Mia regarding her expressions of support to the defendant
and/or her descriptions of positive moments in their relationship. The defense, through their
questioning, expressly and impliedly argued that someone who is a victim of sexual abuse would
not have engaged in such behavior, thereby impugning Mia’s credibility before the jury. The
defense therefore established through their own cross examination why these concepts are outside
the ken of the average juror. Indeed, Mia herself struggled to articulate the complex dynamics of
her abuse. In light of this record, it is proper for the Court to reconsider its prior ruling. Less than
two months ago, in United States v. Ephron, 24 Cr. 418 (MMG), Judge Garnett reconsidered the
Court’s prior exclusion of expert testimony on delayed disclosure in a child enticement case. The
transcript of that oral ruling is attached hereto as Exhibit B. In Ephron, the Court permitted the
admission of expert testimony after the issue had “squarely been put at issue in the case” by the
defense. (Exhibit B, Tr. 1157:23-24). Specifically, Judge Garnett noted that since jurors may have
a different knowledge base on the subject, “we would all be better served by having jurors operate
off a common set of -- a common pool of testimony . . . I think there would be ample cross for
such a witness and that you would -- both sides would have arguments to be made in closing about
whether [the expert’s] testimony illuminated or did not illuminate something about this case.” (Id.
at 1165:18-1166:6)). The admission of limited additional testimony of Dr. Hughes is similarly
admissible on that basis here.

         Further, Dr. Hughes’ limited additional testimony is independently admissible under Rules
401 and 403. The probative value of such testimony is extremely high after the defense’s extensive
cross examination of Mia, which likely left the misimpression with the jury that certain types of
behavior are inconsistent with that of a victim of sexual abuse. Further, the offered testimony is
not unduly prejudicial. By this point, multiple victims have testified to significant emotional and
sexual abuse at the hands of the defendant, and Dr. Hughes’ testimony is certainly no more
prejudicial than that testimony and other corroborating evidence of abuse. See United States v.
Pitre, 960 F.2d 1112, 1120 (2d Cir. 1992) (admission appropriate where the offered evidence “did
not involve conduct any more sensational or disturbing than the crimes with which [the defendants
were] charged.”). Rather, Dr. Hughes testimony would simply permit the jury to draw the
reasonable inference that a victim’s reactions to the defendant were a result of trauma, rather than
indicative of a lack of credibility. See United States v. Ray, No. 20 Cr. 110 (LJL), 2022 WL
101911, at *12-13 (S.D.N.Y. Jan. 11, 2022) (noting that “[i]f it turns out that the testimony of Dr.
Hughes will support the testimony of the victims, that will be because the witnesses testify
consistently with what Dr. Hughes will testify is victim experience generally and because the
jury—after cross-examination—will believe both Dr. Hughes and the victims. It will not be
because Dr. Hughes lends an expert sheen by testifying that a witness is credible.”).




things, that “there’s nothing from this Circuit” on that issue. (Apr. 18, 2025 Tr. at 18). The Court
similarly noted its duty to evaluate Dr. Hughes’ testimony “based on Rule 702 and the applicable
Circuit precedent.” (Id. at 44). It is therefore particularly noteworthy that the Circuit has since
affirmed the admission of Dr. Hughes’ expert testimony on these very topics.
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      For the reasons set forth above, the Court should permit the Government to recall Dr.
Hughes to provide limited expert testimony focusing solely on the topics outlined above.



                                            Respectfully submitted,

                                            JAY CLAYTON
                                            United States Attorney

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